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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________


             UNITED STATES OF AMERICA                              )
                             Plaintiff                             )
                                v.                                 )      Case No.   1:21-cr-046-RDM-3
                       GARY WILSON                                 )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         GARY WILSON                                                                                                            .


Date:          03/31/2023
                                                                                              Attorney’s signature


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